Case 3:03-cr-00361-CCC   Document 766   Filed 06/02/06   Page 1 of 8
Case 3:03-cr-00361-CCC   Document 766   Filed 06/02/06   Page 2 of 8
Case 3:03-cr-00361-CCC   Document 766   Filed 06/02/06   Page 3 of 8
Case 3:03-cr-00361-CCC   Document 766   Filed 06/02/06   Page 4 of 8
Case 3:03-cr-00361-CCC   Document 766   Filed 06/02/06   Page 5 of 8
Case 3:03-cr-00361-CCC   Document 766   Filed 06/02/06   Page 6 of 8
Case 3:03-cr-00361-CCC   Document 766   Filed 06/02/06   Page 7 of 8
Case 3:03-cr-00361-CCC   Document 766   Filed 06/02/06   Page 8 of 8
